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                                                   Libby Claimants On Oxygen (CARD patients only)                                                               5/28/2008

      Johnson . .                    . Raymond                 ..                            3/19/2001                                 ....
      Jungst
      Kirschenmann'
                                          Lois
                                          Eugene
                                                                                             11/9/2003
                                                                                               1/3/2005
                                                                                                                                                                 -_           .....



      Unsebigler                         William                                            3/21/2007
     - - - - .- - - - ---_._-~-----+--_._--_._.--,I----_._---
                                                            ----:.--.-.- - - -.....
     Lyle, Jr        .         .    . Jimmie                                                6/12/2001. 2/14/1966                                     ..        2/25/1968
     Mack                                Robert                                             7/28/1998                          5/1/1959                        9/25/1990
     Martin                              Eleanora                                             6/5/2007
                                                                                                                                               J'
     McC.ol/om
    . McKinney
                                        Bob
                            ...--._- . - - - - - - - - - -------.----+--------'-~.
                                                                                           3/29/2001
                                                                                                                                               r---·-~--_. --"'-..
     McNair
    McNair
    Norton
    O'Brien


J   Paul                                                                                                                    3/21/1969                           1/111988
    Post
    Priest·
    Ringsbye
 Rogina


; Shaffer-
 ~._----_._._,._._--_              .. -_.._ --_._-----'_._- . .__.__..__.._._----+.-.---------_...._---'---------,-.-
 Shelmerdine                       .Judy                                 4/11/2001
 Shelton'                            David                                               7/19/2000                        4/17/1962                        10/31/1966
r------------ .-.. --------~-.---._.--.---,...._'___--                                                       ---.-.-.---.-- . -..--.---.--.----.-
 Shriner                            Donna                                               2/28/2002
Sichting                            Roberta                                             1/16/2004
    ---_.-                                                        ._-1--._"';"'--                                         - - - - .--.:... . - . . . . . : . . . - - - - .-
Sichting                           .Francis                                               2/5/2001                                         I
                                                                                                         1
Skidmore                            Victoria                                          10/13/1995/                                          I

SmerkSr-'--- D~nniS                                           ~/19971                                                     11/4/196~-··----smi1968·
Smith              ..              Ronald                      I . 9/14/1994/                                            7/29/19631.                        2/15/1964
Sm-~h-·--·---·--·-·-·~   . ----·--·_·- o-paT-··-·--·-·-·~····------·-·----I--·-'"-··---·--·- . --·-8/27i1"998,---------·---····-------···--···-1··-----·-'-'---'---'---'--'---

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       j
            Spencer                Forrest
            Spencer--'~'-----
                                    , _ _ _ _ M-:-___..__   M~.


                                                                  -                     ,-------                --,------...
                                                                            8/18/200 o '
                                                                                                                                     ~
                                                                      --~---------


                                   Katherine                                                       5/29/1973            ' 1/21/1974
            Spletstoser , '        Dean                                     6/14/1990            4/20/1967              ' 9/30/1990
                                                ----'-                  ------                                 ~-..o.---......- -....
           , Stacy                 Lois                                    11/14/2006
            Stickney· .           Robert .                                  2/22/2001
            Taylor-Regjovich      Shirley                                   2/11/2003
             eniplin, Sr                                                   12/13/1994
                                                                  ._----_._-            ._._---------          _._.__._--------
             olle                   aryann                                 4/1.3/2000
                                    alter                                 ' 12/9/1999            7131/1974 ,              9/111990
                                                                          12/19/2006
            Inson                Kay                                      ,5/13/2002
             ada                 Charlotte                                  7/711.997
                                 Edgar                                      3/9/1994            8/16/1967                7/10/1978

      Y.                         Bradley
                                , Brian
                                                                           5/25/2000
                                                                          '4/17/2001
                                Helen                                       8/9/2004




,.J
                                                                       Page 3
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                                                                                      LIbby ClaImants wIth FVo, TLC, or DLCO <60 (CARD patlents only)                                                             .5/28/2008
               f:~~.~l.ri.,~.titF~tJi.iJ~·"              ~·r·                                                                                                                                                 ~-;,;~~;:~~~,
           , . IAlbert - PR Maiy Albert                                                           IThomas                                 1/9/19991/19/96                                                23A,LC-
                                                                                                                                                                                                                     -_.~--

              f.         IAIlen                                                                   James                                   6/9/19939/11/06 crapo                                          51 A
              A          Atchley                                                                  Edward                                  4/5/2001 6/11/07                          99          94      47A

             D.          Badgley· PR LInnea Badgley                                               WllJlam                                 1/1/19966/7/00                           77           96

             A          Baeth                                                                 K e n n e t h ' 10/29/1997 7112106                                                   73       101         57A .

            A           BaKer                                                                 Mildred                                     111/19951/22/01                      ,74         . .49        25A
            D- Baker~':-:::P-::::R-::F;-ra--n-ce-s-:B-a-k-er----'-'-----'---+-B-ru-ce---.-                                              3/21/2000 2127/01                          95        95 .       43 A~C . --~--

           A            Barnes                                                                Rob~rt                                     7/1/1998 5/14/07                                    62         49A·

           :.4.         Benefield                                                             Donald'                                    1/8/200111/28/05 crapo                105           86         59f.

           A            Benefield                                                             Davfd                                     4/10/2001 9114/06 crapo                 95           72         43A
                                                                                                                                                                                         - .. ..,..-:-J---:±--:-...-
                                                                                                 . .
           '0- Bennett - PR David Bennett - - - '-----+Lo'"7ls- - - - - - - - -W/14119981/18/06,
                                                                                     .
                                                                                                 1126/06                                                                        61          41          43 A

           A         BenoIt                                                                  Edward                                     8/26/1998 1/21/08                     . 91         113          53A

           A·        BllIadeau'                                                              Elmer.                                     4/18/2001 6/20/07                     102           74          58~

         :.4.'       Bock'                                                                 . Fred                                        7/1120024/4/07                         97          66         58 A .
         D           ~oyle· PR LorInda Gartne-r-·-·-------jP"'"a'-trf.,..c.,..k~----···---                                          212~/2oo2~14ioz------·-:-1'04 '-~--'9B ··--3·~8f-:-A--·----

     .A              BrlcKey                                                                 Helen                                      3/1/20005/7/07                        102           86         51 A

      D             Brothars-PRLesterE.. Brothers                                           Lester                                 '9/27/20049/27/04                           93           73       . 58A,LC

      A            . Brown                                                                  Doris                                 12/14/2000 10/30/06 crapo                   102           79         47 A
                    Burton - PR Don Burtoni?-·-.,-------Siiiron·-·--·--·- --..                                                      7/10/20019/25/06 aapo               1--'-70             61         59     p;-----.
     ,J             Busby                                                                   Dan                                    11/8/2001 5/30/07                           80          67          35 A

     IA             Cannon                                                                  ~oko                                   7/29/19997/16/07                           111          78          21 iA-

     \A.           Carvey                                                                   Steven                               10/30/2000 8123/05                           145         111          55A .
     -.-'-
     A
                   -::-------_._~_

                   Caudill                  .
                                                    ..   _ _._ ___.__'. ._.. l'\rthur
                                                                       ..   ..           _-_.'---'--~-----

                                                                                                               .
                                                                                                                        ..-.•.._.••..   _- ---_.----'--- _.__..
                                                                                                                                        1/1/19906l19/07         .   .          84          88
                                                                                                                                                                                                   .-._.-I---~---

                                                                                                                                                                                                      46A

     A·            Challlnor                                                               Wendy                                . 2120/200110/30/06 crapo                      84          7~         37~

     D             Lihalllnor - PR BeltY. Challlnor                                        Jim.                                     5/9/2001 7/25/02                          42           70

  A                Chalmers                                                                Keith                     _ . 4/13/2000 9/19/06 crapo                             104           89         47 A
 'A';--t=Co-;h-e-no-u-r----'------·                                                        James'                                 8/12119979/13/06 crapo                --65 '-"-6-2 ·--:5:::'5f-:-
                                                                                                                                                                                                 A- - - - ' - "
  D                Collle~ - PR -Glyn·d'a.·6iSon---·--·--..·--..·. · ··--:-7oAiln-:--'--··--_.._·.,.....- ~---rri25i2003 3/1470&"-·----· -'--:-1'08 '·-"-'-68 ---27 ~.--:--.-

 ~           . Craig                                                                       Carl                                  5/21/19972/19/04 crapo                      . 69          72         53 A

 D                Crill - PR Darlena Grill                       ..              .'      William            .'.                10/16/2003 9/7/05                              94           94'        50 A
 -                 -.----.---~-----                 ....--..-.-...----..--..-.--- --.-----...----.--. - . -.-~----.-f_.,_.- ..--.._ - - - -c·-··                                                ~-'-.---,I-------
 A                Daniels         .                                                      Joseph                                  3/16/20058/10/06 crapo                      122         128          58 A

 D                Davlpson - PR Kay Davfdson                                             RIchard                                 9/21/19988/29/00                             64           45        102A

 A                Day                                                                    Hazel                                     1/2/2002 3/19/07                           77          82         461A

                  Dean
                                  -:::P=R·'::D~a~vi:-:-d-=D:-e-=S;-ha-z-er-----
                                                                                      ~=~rald-· ---J----~= 8~/06                                       crapo.                ~j. __       7,1        ~
                                                                                                                                                                                                     --~
                                                                                                                                                                                                                        _




'f.t::~::~~;e~~D~~":'~-:'~9~~=-t;d_..- ._..4;:;-:~ -=~=::r-.-:r~~ :~_--=
'D=--t=oe-;S:::h·-az-e-r-.                                                               Margaret                                 7/7/1997 211/01                            104/         90
                                                                                                                                                                                                         I              .
D·-··6eShazer·:p'Ff'JeanDeShaze·;:..-····_·- _ -- -- Dona;Ci------··-·----·-····--·- ·-··---"7113i1989J6t21Too-··-_··--·--·_-. ----·-··-611··---·--···5~--··-·.,7f---·-
                  DeShazer- PR Sandra DeShazer/Gerald                                                                           8/29/2001'15117/05.                          1291         89!        37r



--!                           .       ~--_      .               .._.              .__.1.      .___________                    .__.             . ._.                '--...     L            L        .._:..             _
                                                                                                                   Page 1
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               "'~j~~~~~i~~:~~~:~                  ."      -' ···~;i~~:!i·: . .'{.. ~:; ..~~Ii',!;'~:~~    ......                 .~-~\.:;~,"~."lt.'l.;.~        .   R       ".~:~~ ~~~~tf                                       ,-' . '·."~~;a#~:
          ""l                Drury.                                                           Sru'ce                                                          11/2612001 8/9/0e crapo                         76         78.    .     58~
                                                                                                                                                                                                                                             ~.   __.-
                                                                                                                                                                                                                                                      -
               Il,           Drury .          -.-·--------'---llo=-e-:.ra-n-o------+--:6:'7.i2::::2Ic:::2~00;;;0~:7;-;:/1;::;2:;::/0:=e-cra---po-+---;:;;;:+----=i--·-;;;;
                                                                                                                                                    62        63        38

              \<\           Dutton                                                           Merritt                                                           9/14/2000 2/12/07                              54      63              33 'A           -
              A             Edwards                                                          Robert                                                           9/27120015/31/06 crapo                      111        110              30A

           A           . Eldridge                                                            Kristine                                                         5/15/2001 9/19/05                           108         51              72A

           ~                Erickson                                                        'Richard                                                          7/1712001 5/22/07                               95      90              38~

                                                                                                                                                                                                                                    . 44'r"--~-
                                          ..- . - - - - - - . - - - - - ~.-----.---- - - . - - - - . - _·.,-:"·c::-:::-.----5-,---:-=
           A                Erickson       .                                   .            Duane                                      .                       4/3/2001 7/10/06 crapo                     123         .60
           D                Erickson -. PRs RIchard & Chris Erickson                        Rodney                                                           10/22/19926/6/02                             101         80              22A         -
          ~                 Farmer                                                          Arthur                                                             5/1/2001 2126/07                               73      77              53A

          A             Farrar                                                             \Jack                                                             4/26/200o 8/23/06 crapo                          78      85              5~A

          'A            Fellenberg
                                          -                                                Ruben--                                                           3/21/1985 5/9/07                                 51      52             51 ~,colon CA

      OoA             . Ferch                                                              Warren Dean                                                       6/29/2000 5/17/06 crapo                          95      90             45 'A
          A             Fnopoulos                                                          Frank                                                              217/2002 11/15/05 crilpo .                      86      86             57A

          D            Finstad - PR Edith Finstad·                                        Kenneth                                                             9/1/199810/5/06 crapo                           74      63             48A'
       -;;:-:- Fore----..··--·.. ~-:-·-·.,. ....- - - - - - - .-...,- Biil·~·_..-·.._'--'''-.;_Oo- ~~9/15/1999 6i7i06-'~iip-o_.                                                                  ---SO ---90 - ..··-34~--··-·-·_-
      'A               Freebury                                                           Danny                                                             10/24/2001 /25/05                            126          79             24A

                                                                                          Robert

                                                                                         Edward
                                                                                                              ..
  OoOo~                                                                                  Marvin

                      Hagerty                                                            Leota                                                          10/24/20005/21/07                                 78         42                  'A
                                                                                         William'

                                                                                         Douglas
                                                                                                                            _.
                                                                                        Hazel

      o              Hammer - PR Mary Hammer (Betty Wamer                               peter                                                               4/25/2001 4/25/01 spiro                                  18:                'A.
                     'PI"lA Mar\i\·Oo                               .
      A              ~ensley                                                            Myrl                                                          10/29/2001 7/3/06 crapo                            95          9156A
                                                                                                      ..
  A                  Herreid                                                            N. Dale                                                              5/9/2001 1215/06 crapo'                   116          122             40A
                     Hill      ~":' __ '~-"_-'-";"---Oo-Oo-Oo'-_.- Ca~-·..·----....--:.-,-·1212ii2000 a{i"3io6-crapo.. . .·                                                                      _ _ _ _ e·    '~'--"41'   .__...-..-   ~-:-.-   ..._-_.

  D             .HIII.- PROo 66nald Riir'---                                         . Dayton                                                           10/5/2000 5/121Q4                                56         '47         . 40 A, Colon CA
 'A                 Hodges                                                             Donald                                                       ·4/18/2002 6/21/04                                 114         115              37 A
                                                                                                                                                                                             .
 A·              Hoeltzel                                                             Leland                                                                311/2001 2119/07                            60           58             63 A
!-'--l~=------------.------_t.--=-------                                                                                                   - - - - - - ---.----.-- i---.--I------ --.-.,.f---~--
 A               Hoffman                                                              LeeRoy Oo,                                                       3/26/2001 10/16/06 crapo                         76          ·82             40 fA.

~               Hopkins                                                               J a m e s . 7/6/19863/19/07                                                                                       62          59              71 A

A               Hughes                                                                Patricia                                                              4/3/20012/22105                           106           93              56A

fA.            Hurlbert, Jr .                                     . .              . /Ervln                             .                                   6/1/1994 3120/97                            69,        -51 --·'65 A                            .
                                          ·--·-JKern;eiii--·..--·-·--I-:-~-12i6/1995 4/3/0a-crapo"--"'- ---'1131'-'-721-'-"'''39~-----­
D - HuttOi1;rRSLisa Hutton::Woest 8. Penny ..
D              j:~~n:.PRLonaDlanne Walker----·- Dorothy--..-:----- ..·-··rn1i2001!1n.1/01".. --.. ·-_·-----·ir-·_c"56 --_._- ~._------
                                                                        .                                           .                                                    I




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                                                                                                                                                              -_._~----~-
                                                                                                                                                                 79A

                                                                   Patricia                     3/9/19996/27/00                     88              58           37 'A, lC         -
                                                                   Gerald                      4/10/2001 8/31/05               120              107              35A'          -
                                                                   Marylin                      6/2/2004 8/30/0"6 crapo        124               95             52 A, Colon CA

                                                                  Lucille                    12/27/20003/21/07                 102               78             58~
                            ---.----c--..- - - - - clyd-e-·------t-·--.2/15/20052i2:::-:0:7./0'"=7:------t-··--::7~3-'-'62 --'-40r'--"'-:-
                                                                  Loren                       9/27/2001 517107 crapo               89            84             48A

                                                                  Gynell                       1/9/20021/21/04                     83            79             14A

                                                                  Joan



                                                                 William                      3/21/20073/21/07 crapo            86             123              50A

                                                                 Larry                        8/12/19998/22/05                  84              53               5A

       O ' Lundstrom-PRJudy Lundstrom                            Carl                         7/26/20014/10106-crapo            87              92              47 A
      ~~ Lyklns,..--:-------·-·--·' - ' - - - ' Leroy -.-------: -"'-772372001 8/1/06 crapo                                   128
                                                                                                                                        ."-'._'-" _._---:-1--._-.._ - -
                                                                                                                                               117              30iA
      0      Lyle - PR Glenda Lyle                               John                      . .12/6/19935/31/00                 97              101              44 'A, meso

      D      Lyle - PR Jimmie Lyle                                                            51212002 6/26/07                113               80              41 A



     ,
                                                                :Shlrley
      ~.     Lyle, Jr                                            Jimmie                      6/12/2001 5/4106 crapo            89               89 .            16 ~
                  ,-                                              ._N" ------I--,-~~                  ,-'--.--- - - ,50 -..,---~- -----'.-+------
           . Mack                                              . Robert                      7/28/19986/5/06 crapo             35     34~

      ft    Mallory                                             ~Ian .                        41712000 7/5/00 .               125               77             56A

     ~      Martin                                              Charles                      6/23/20039/12106 crapo            75               77             59 A

     A      Martineau                                          . ~ohn                       3/11/2002 11/21/06 crapo          106              115             58 A
  r;;.-··-Maxweu-----.- -..-'~·_··- . ··----·BettY-·---'----:- -'-:--"--si1i2OO1' 871oiOif----                                 79       '-'-'-79 -'-57 ~-----
  A         Mayeumber                                           Eileen                      4/1212004 ~26/07                   9 5 ' 84                        sa A
 .A         McKInney                                           L y n d a ' . 817120067/31/06 crapo                            101              112             45 A

  ~        McNair.                                             Clysta                       2116/20052128/06 crapo             66              73             . 51 A
  A        Moen                                    -           Renee                .- --1/1ji20ii27n7/07-~-- ---77 '-71_                                      52p::----
 r;;.-:-- MOies···~--·-·-~--·'·-·~--:--·~ . - '-.-.---.-.--:-CEiianc,--:.. .-_·-_·_··- -·----3i28i2000 9718io6aiipo" --:'02 '--"-'9'4                          56 A'-----

 .A        Morey                                               /Jl m                        2119/20011/19/06 aapo            106               96              43~

 o Murray - PR Betty Bauer                          IThomas                          3/1/.19978118/98                         59               70              35~

 5--- Ne'ison-:-PFfE d(TNelsoil----·-·--·--·--..-·.;.·'RObert·'·--·--·--····- -·--7i16/19981·0I30101----- ' .                 68--::56 --27 A
 A         Norton                                              Marilyn                     5/24/2005 7117/07                  81               74              44 A

 A         O'Brien.                                       fLoule                            3/6/20024/11/07                   93               93              55~, LC

 ~_._ Olkl~~. PR Julie Raridle~ __._.        . ~~~                             9/~19"~n6"-2--~ - _~t_~--:-L-=C~--
D     OJkle-PR~ulleRandles            .c·-tEcina..                            3/21/2000/21/04;               I     29 1      40r
---'- --_.. _   _-
                _  .._._----_._._._. __ .-._., _ _/ _ _ __ ,_ _ .._---_._ _._-_ __._- __ _ .. _.__ ,_._--_..~ _ _._ -.-_ _._ _._ _ _._._-
                                                          ..                                                   _                         ..•             ..        ..
 o '. Oldham· PR Eva Oldham                        George                     5/11/19925/24/93 .  .;        !. 19/              ~        .

:L- OI::'~~R            GlyndaOlson   .     •__.        -t~m~s_ _---+-._ 6/23~199~~/25/00                                 ~.-1~l---._~~L--_~fLC                               ..



tJ~·~~Wa~Oh·i??:=:-::f~~-=-_=:::j7;;E;=~-~i:::ii:_if~=
                                                                                  Page 3
